                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA and
THE STATE OF WISCONSIN,

                        Plaintiffs,

        v.                                                     Case No. 10-C-910

NCR CORPORATION, et al.,

                        Defendants.


                                              ORDER


        The government lodged a proposed consent decree involving P.H. Glatfelter Company and

Georgia-Pacific Consumer Products LP with the court in January 2019, which was subject to a

thirty-day public comment period. On March 14, 2019, the government filed an unopposed motion

seeking court approval of that settlement and vacatur of certain prior decisions. Upon review of the

decree and the brief in support, the court finds that the settlement is reasonable, is consistent with

the purposes of CERCLA, and will help achieve clarity and finality. The government also seeks

entry of an order vacating three of the court’s decisions: the January 3, 2017 Decision and Order on

Plaintiffs’ Motion in Limine, the February 5, 2018 Decision and Order on Cross Motions for

Summary Judgment on Recovery of Response Costs from P.H. Glatfelter Co., and the July 13, 2018

Decision and Order Denying Plaintiffs’ Motion for Reconsideration. The vacatur of those decisions

is a condition precedent to the settlement. I conclude that it is appropriate to vacate those decisions

to facilitate a settlement.




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       IT IS THEREFORE ORDERED that the government’s motion (ECF No. 1255) is

GRANTED. The consent decree is hereby approved. The clerk is directed to enter the consent

decree (ECF No. 1252-1) on the docket.

       IT IS FURTHER ORDERED that the orders found at ECF Nos. 1167, 1217, and 1239 are

hereby VACATED in accordance with the terms of the consent decree.

       IT IS FURTHER ORDERED that any remaining motions are DENIED as moot.

       Dated this 14th day of March, 2019.

                                         s/ William C. Griesbach
                                         William C. Griesbach, Chief Judge
                                         United States District Court




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